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                                                     January

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        RE: Commonwealth of Massachusetts ex. rel. Mykel Powell, et al. v. Sgt. Brian
              Holmes,
              United States District Court Civil Action No.: 18-11336-FDS

 Dear

        With regard to the above-referenced matter, enclosed please find Village Gun
 d/b/a Village Vault and Peter's Dowd's responses to the plaintiffs' document requests.
 awaiting a signature on the interrogatory responses and will forward those responses

          Also, for the same reasons expertly identified by Attorney Donohue in his
 2020 correspondence related to the second round of written discovery requests directed
 clients, the December 19, 2019 written discovery requests made to my clients fall
 Court's established deadline for service of written discovery. A s I intend to abide
 Court's discovery directives, my clients will not respond to those December 19,

        As always, should you have any questions or concerns, please do not hesitate
 me


                                                     Very truly u   ,


                                                     Andre b a c c i n i
 AJG/kh
 Enclosure
